                 Case 01-01139-AMC                                   Doc 22814-25                   Filed 08/14/09                 Page 1 of 12



                                                                                                                       94     Pages             370      to         373
                                                                      Page       370                                                                         Page    372




                                                                                        .4




10                                                                                      tO
.1                                                                                      Ii

.2                                                                                      1.2



.3                                                                                      L3

                                                                                        114
                                                                                        as
                   All    right        Referring          to

-7    Exbibit-3        which      is      and         am sorry
.8    Not Plan Exhibit-3                                                                .18

.9                Okay                                                                  19
                   ACC Exhibit-3                                                        20
                 MS HARDING                        Can you remind                       L71

          mc what that is please                                                        22
             MR. DANIEL COHN                               Thats          the

          Form 8-K with                the    Term Sheet                                24

                                                                          Page    371                                                                        Page     73

          attached                                                                             BY MR         DAFIIEL         COHEN
           THE WITNESS  Ih ive                                 ii
                                                                                                     Q1       And was        the Libby claimant
      BY MR DANIEL COHN                                                                        representative on the committee                          member
                   Who          negotiated          the deal                                   of the negotiating subcommittee

      thats    embodied           In   that        Term    Sheet          on                         i%2     24ot   to the best     of my

      behalf    of the Asbestos                P1 Corn nilttee                                 recollection

                  MR FINCh                    Objection                                              .Q   Wsth.Td1$k.tt1hQt.ttt4
                  MS HARDING                        Objection                                  to     ote by be cjunmkfre
                  MR FINCH                    To   the extent        it
                                                                                                                                         Objection
          enters       into Plan       negotiations                                      10                 IME ws..weIt                            dt
           am not sure how               it   reIe ant to the                                        know      whether       the   Tenp        Sheetm
          confirmation hen.                                                              12                          the    form that          exists
                                                                                                      precisely                           it


                  MS hARDING                        Same                                113           an   Exhibtt-3       was submitted          for

14         objection
                                                                                        14            vote    bmlyadocent
13                THE WITNESS                       Arc you                                           lyrngthetoftheTam
           instructing me to anss cr it                                                               Sh wa smitted                             vote of
 .7               MR FINCH twill let you                                                 17           the.ftº
           answer        that    question          and    we    will                      .8   BY .M          DANIEL         COHEN
           see    how far          goes                                                                       Aldtht.vote                      result   In

                  ThE WITNESS                        am not                             20     approval       of ths deal

           tirely sure             remember                                             21                    Ye
              accurately        who the parties were                                     122                  flow     did the Libby claimants
                  it   also     depends        on what         you                       p3    vote
           mean by invlved                    in   negotiating                           124                  Iklont    recall     but
                                                                                                                                                               ______
                Case 01-01139-AMC              Doc 22814-25           Filed 08/14/09                    Page 2 of 12



                                                                                          95       Pages             374    to         377
                                               Page    374                                                                     Facie    376


       sureou4o                                                                lrneantthequestion
                        1reto i9ry                                 ordLnarily        which Is were there in

           oJ44     that theJ4biy    irnut                         additiqL
       ak1sttheie                                                              qkay-AstarasIiiiware
                                                                   the      were no other documents                  other thai

                                                                   drafts   of the Term Sheet               that   embodied
                                 stqn4                             thedal      reflectd         in thŁTeæShŁet

                                                                                Were           there any oral aside

                                                                   agreements         accompanying                 the Term Sheet

               ttonstiC                    ihit4             .0                MS HARDING                     Objection    to

                                                             11           the extent      it   seeks   discovery
.2                                                                        related    to negotiations          of the

-3                                                                        Plan of reorganization

                                                             14    BY MR DANIEL                   COHN
L5

L6

17

1.8


L9




                                                Page   375                                                                     Paqe     377




       soojs.posstIe




                                                             11

                                                              L2



14              osedhtthJr seatipIna                          -4

       OfliCOitho$tcXms fld cn4ons                            L5
16                wlnookattho
         oj1ana and look      tt.s Plans   yo will                        .Q       And thee            my
  .8           eyŁethe4a                                     18    agrmenthat                    were inadein          cŁnjuncUon
                     guess   uhat sen                        19    wIth     this    Term sheet          ACC Exhlbit-3Z
       there
               cre other uentsmbybig                         20          Nonotherthathetyp
       terms of   than j4 tltse      wertbey                  21   pfudersing that just ttiflcd
             alniiied awhole buhctiof
       But they                                               22    about Would have             had   to    hayc been     ora1

       tes thater hffeit from 4ie Term                        23   Thewas           nowrtten           document saying we
        ii                                                          are   going to incorporatc              the    following
                     Case 01-01139-AMC                             Doc 22814-25            Filed 08/14/09                      Page 3 of 12



                                                                                                             96          Pages            378        to     381
                                                                           378                                                                       Page      380


                                                                                                     if
                                                                   Page

       terms frorn thjpviops                 Ias thj ii                                                                                   itTnto
       aw      of                                                                       co-propojent         agreement              gqverning        tIa
                                                                                        relatioihj1s thereany                        ici
                                                                                        ageflItritten    or orally

                      if                                                                            o\Ve11               you say




LO                                                                               -o

Li                                                                               Li

L2                                                                               L2

1.3                                                                              13

.4

.5                                                                               .5

.6                                                                               .6

.7                                                                               1.7


                                                                                 18

.9                    Were there any agreements                                  19

       concerning       who would bear responsibility                                               MR FINCH The parties                        to


       for restitution        claims if any in                                               the    Plan also       to    the extent       there

       connection          with    the criminal        trial   now                           are issues      in common   there may

       going     on In Montana                                                               well    be     common interest
                     MS HARDD4G Object to                                                    privilege      for
                                                                                                                   purposes          of


                                                                    Page   379                                                                           age    381


              form                                                                           discovery        and    litigation       of

                     THE WITNESS                  dont                                       confirmation objections                      But

              believe      there    were at    that   time                                   those    are not       --    would       not

              nO                                                                             regard       those    as    any types of
       BY MR DANIEL                  COHN                                                    agreements           you     arc questioning

                      Have        there been
                                                 any                                         about

        agreement on that              subject     since     then                        BY_MA$IEI CO1TN
                      Well     there    is   provisions       in                             QI M1rght DectIng your1
        the   Plan that speak to that so yes                                             attentt    tCCExhIbIt-1     hicifls

                      Apart from provisions of the                                LO

1.1     Plan     are there any agreements                    between              Li                 4ei
12      the Asbestos          Pt Committee and any of the                         L2                 Ufi1gIit.           Who        drafted the

13      other Plan         proponents          on the subject                     L3

 1.4    matter       of the   Plan                                                L4                 MR FINCI-I Objection                         This
  .5                  The Plan embodies               the                         L5         gets into       Plan    negotiations           and

16      agreements          There      are   no side                              16         drafting             will   let   you    answer

        agreements          oral or    written     that     vary                  1.7        that    question        but       we   will sec      how
  .8    fromthePlanthatlarnawareof                            And                 .8         it
                                                                                                  goes from there
  .9    indeed        would        be very surprised          ill                19                 11EWIT1S                         IosomŁ
        was not aware          -- if   there   were    any that                              extent       Mrmay know
                                                                                                                  Inselbuch

        was    not   aware     of                                                            mdabtt1iI thi Ido BLtt
                      All right         And one        last                                  hayc         pretty.gxknowledgc                       of1


        quest1onon          this subject         ft   has been

        known fromIimeto                  time fortbe
              Case 01-01139-AMC                         Doc 22814-25                Filed 08/14/09             Page 4 of 12



                                                                                                  97        Pages            382   to     385
                                                            Page    382                                                            Page    384




       1DP in tincejtion               was       sorto
       markup job onpne          preypqof the

       flPs froii one of the prcvIou




                                                                                                                                     or




                                                             Page   383                                                                     335


          iiiniTdiiuig        and   what have        you ws
           beheve          done   by   jm
     BYMRDEccXHN
                Whit input If any
     Ge       have    concerning          theJDP
               MS HARDING                   Objection       with

          respect     to


               THE ITMESSz
                           negotiations

                                            Wit __

          griraI opositrnn                   wa
                                            Grace                         10

          fuuushe4 copies           of drafts an4
          taffordedjhe                          to
                              ipportunity

          oiiimathem
     BYIIR         DAIJIEL        COHN                                                      rWelIigaiii       thilis    bie
                    4tud were any changes             made                                        from      1DPs        In   some cases
16   what soindIIke               an ACC FCR draft at th                       depcnding      upon the factsof          the   case the
     bejest    of   Gce                                                        aims history       of comparable          defendants

               MS HARDING                    Same                         10        the   to sys       is


          objection                                                       19               The TDPs     aie    genlly
               THE WITNESS                    dont reaJI                  20   drafted    in consultation      with the

          recall                                                               omiteesasijstos              clauiis     acfisor    which
     BY            DA111EL        COHN                                    12   is         llyif not mvarl4bly           Mark
                    Directing       our attention       t                      eterson and depending               on the arnunt of
     Section          of the                                                   claims data availabje          to   Mr   Peterson
                                                                                                                                    _____
                  Case 01-01139-AMC                                    Doc 22814-25              Filed 08/14/09                             Page 5 of 12



                                                                                                                            98          Pages              386          to         389
                                                                            Page   386                                                                                   Page           388


      frorn    thbebtor               The Ienjth          oftniieihat                     Ii
      the    Debtor has been                in bankruptcy             and                             btfmentalu nugh
      thereore          the possible             staleness       of thq                               gher pr 1qwwbzt                            ever
                           data       and    the   judgment           of                                    tThe expedited review                        w1ucl
      pre-pet1t1oi
      Mr Petrson             and       the   members of the                                           wl                     wp1bs                      us4j
      committee          and 1heFCR                 sometirnes.claims                                 the   mtpartsaresuLtofaæ
      data    from therdefendants                       is   taken ibto                               averanigprocess And as say
      cjcpun                                                                                          Mr In1bucWandMark Peterson1
                        Andiffe purpose of that                                                       ho              both        gu4 fo be w1Iiese
      to mosiaicurately                     discern        the      anioun                10         Cia thicase             can       tell    you      idt

      that claimants              would obtain               they wer
                                                               if
                                                                                          11          iiibri1but             thedethilabutit

      pemiUdjo                   ot          tq the       or4flsm                         12

                     MR FINCH Object to the                                               13    BY MR DANIEL                       COHN
14            form                                                                        14                   Is    it    the position             of the

15                   TRE WITNESS                        The urposie                       15    Asbestos        P1 Committee that                             TDP would be
              foiTtht       Is   to    prvide        the     value                        16    legally     sufficient            If   it   did not try to

              that   are    used in the vanou                                             17    treat      claims         as equivalently               as possible

              portions       of the         TDP where values                              18-   in   accordance             with their historical                      value

              are    assigned           They        are    used                           19    in   the    court system

              detenmnmg                the expedited            revw                      20                  MS HARDING                          Object to

              criteria      which           is basically         an                       21            form

              average       value open settlemeni                                         I22                 MR FiNCH Object                            to    form
              offer     to claimants             that     dont want                       23                  THE         WI1NESS                 Thatts       such

24            to get intoa             whlelt             of                                            hypothetical              question             have       no

                                                                            Page    387                                                                                    Page         389


                                                                                                        idea   what         the    committees                 position

                                                                                                        would be on that                       And moreover
                                                                                                           have      no     idea       what      kind of             TDP
                                                                                                        you    are talking              about

                                                                                                               Its    the    committees

                                                                                                        position          that    this        TDP     satisfies


                                                                                                        the    requirements                   of Section        524g
                                                   vi                                                   of the bankruptcy                      code    and      is


                                                                                                        reasonable means of doing so

 10                                                                                       RU    BY MR DANIEL COHN
11                                                                                        111         Now you have previously
12                                                                                        12    testified       earlier           today that            the Plan
13                   crhe    niiiximwn viluw                    rJ                        13    envisions           that     asbestos P1 claims                        will

 .4            supposedto              ptideliziitrbnwiat                                  .4   not be allowed                   or disallowed                pursuant             to

 -5            the individual               review                                         .5   Section        502        of the bankruptcy                     code          is
                                                        process        is


               supposed           to   come up with                 And all                16   that correct

 .7            of these          are done        in the      contexV                       17                     That       is   the general

               ofaTrust            that     is   attcniptingto
                                                                                           18    contemplation               of the           han
19             pay      similar claims             in        similar                       19           9j Ifunasbestos                           1I claim           wer
                value and             they xeall           ivee                                  tballed or disallowed                                    under          SictIoii


               by    definition              They.are æ6t                                        502 what            ou1d              the standard             for     doing sd
                balkanized numbers reflectmg the

                reaulte     of different              you dont                                                 MR FiNCH Objection
                have     diffentsets                of numbers for                         24              hypothetical            calls        for     legal
                Case 01-01139-AMC                                     Doc 22814-25                    Filed 08/14/09                    Page 6 of 12




                                                                                                                        99         Pages                   390         to      393
                                                                        Page        390                                                                                 Page       392


          conclusion           irrelevant      to        the   Plan

          at   issue

                MS HARDING                      Same                                                          MR FINCH Object to the
          objection                                                                                    form
.5              CrHW1Tt1ESS                     Prcsumbly                 it                                  MS HARDING                        Objection              to

          wia          bethe    result    6fthe                                                        the    form

          nruptcy ouTs dctemination
          iebtis.of 1II conteiie
          tit piceediiij what the        as to                                             19
1.0       tatqjaw abtyn app3pnat                                                           10
.1        mntwouldb
 .2               am noexaciIr              sire how                                        .2

 .3       the bankiuptcy              cuit would                                            .3   BY MR DANIEL                     COHN
 .4       etennine           the   appropnatc              amqunt                           .4                  May       direct
                                                                                                                                         your            attention

 -5             iprett                ite that           th                                115   to   Section    5.3    of the TJ.JP

                 1deiiui                  it
                                                by reference                               116                   have    it

 -7       s_the      lustoncvalueoI Iakn                                                   h7                   And specifically                    to    Section
 .8       ttled        byQr            in the tort                                         h.8
                                                                                                 5.3a3 Can you explain to me how the
 -9       yst.em       gr the bitpnc values                      of                        19    schedule       values listed there were

          rae verths ii thetoit                           $ystem                                 derived

          rheywould             ltiiinme it like any                                                           MR FiNCH                  Objection               asked

          rtwoulddetemie                                                                                and    answered           certainly              answered
                                                                                                               MS HARDING                           And calls for
                                                         Co u4lt                                        negotiations         to    the extent             it




                       4o                                               Page         391                                                                                    Page    393


          lcf                               iii by         th                                           does      am objecting
           1asLnctcurt 6eÆwc uiiier th                                                                         MR DANiEL COHN Can we
           Sectionl57of2SUSCthe                                                                         stop for        second          and         go off the

           ankruty   cour ocnt have                                                                     record

          ursd1ctjon               determine              tIre                                                 There was                discussion              held

                oint and        ahdity of personal                                                      off the record            at   this    time
           tjtry clauns               And yqu would                                                            THE WITNESS                          Lets go           back

                     aight
           rolabIyJiave      ajur                   to                                                  on the recont              Mr Inselbuch and
           alunder ScR6niIhink                                                                          Mr Peterson are better equipped
  -o       48                                                                                           to    answer    the       question that you
                 Adso iould wind                                                                        just asked because                    while
  12       ih        sorac     jury   ig         empanelled               by                            reviewed        these          TDPs and commented
           the.Disthct          Court       guess of                                                    on them and           am generally                     familiar

 14        e1awi and that jury                             ould    tell                                 with how they were                     created           et

           oiihafeær thit jury thougIij                                                                 cetera the way in which our firm

           hatcJimwswprth                                                                               and    our committee                  operated was

                  .Pl          ELQ                                                                      that   Mr Inselbuch               had             greater

                  irnI the standard under                                                   p8          role in working                with the committee

       iSecfjoii 502    and this Is   yes-or-no                                             19          and    other    lawyers          in
                                                                                                                                                my firm on
        queitlon    The staiulard   Under Section                              50           20          the nitty-gritty           of         lot    of these

         oiId be the claimant               Is      entitled       to                                   provisions

       vbever hejs entitled                    to    under                                                     And this particular
       aIicnble         in-Jiinkruptcy Jaw                        cept         to                       provision        they would be more
                     tthat      1tsoerndden                                                             equipped        to   answer            than            am
                  Case 01-01139-AMC                                          Doc 22814-25                Filed 08/14/09                         Page 7 of 12



                                                                                                                               101          Pages                    398     to         401
                                                                                  Page    398                                                                                 Page       400


         some extent                 subject          to    refemng                                        and         what     the nature         of his disease

         you to Mr Inselbuch about more                                                                        is    They      are    very      individual


         specifics            the    expedited review                                                          specific

         values are an average                            of      certain                                            And in individual                  review

         level        nationally            of claims             of.that                                      the   claims handlers               under             my
         category                                                                                              understanding               dont     go back            to

                    But an     election              to    take                                                the   files     and    try
                                                                                                                                            and    fmd some
                                                                                                               claim thats           identical          to
             expedited review                                                                                                                                 this
                                                is   simply an.
             election                     claimant or the                                                      claim that they can                 could use to
                             by the
.0           claimants         lawyer that they will                                             10            say it has            historical         value        of

.1           accept     that    amount               for their                                   11            and therefore we are going to
.2           claim       The     historical                value of                              12            apply      it    They look          at        think

.3           that     claim --it could be higher                                                 .3            claim and             they apply          the

-4           or   lower Imean the claim                                                          .4            criteria        And thats           the       value

L5           itself    has nO histOrical value                          so                       .5            they come         up with
L6           you would be                talking           about       the                       .6     BY MR DANIEL COHEN
             historical        value        of some            other                             L7                     Soil they do not do exactly

L8           similar     claim            And depending                      on                  L8     what you said they dont                              do which Is to
.9           what      level    of similarity you were                                           L9     Look    for     the closest         historical               analog to

             opting      for the historical                       value                                 the claim what standard                              do they apply
             of the claim might be higher or                                                                           MS HARDiNG                            Object to
             rower       So          mean            the       answer        is                                form
             no                                                                                                        MR FINCH Objection to
      BY MR DANIEL                        COhN                                                                 form

                                                                                   Page    399                                                                                    Page    401


                       All    right         Lets add the                                                               THE WITNESS                           They apply           the


      assumption that both                           claims        elect                                        standards        set by the Trust                    when
      individual         review           and that the Trust upon                                               they    go for individual                    review

      examination              of the claims                   concludes           that                         which        are set forth in Section

      each     claim has an historical                             value of                                     5.3b2 of the TDP                             In

      $100000                                                                                                   Romanette            --   well     it
                                                                                                                                                         says        The
                      Should those claims be each                                                               P1 Trust        shall thus         take        into

                                                                                                                                                of the factors
      liquidated         for    $100000                                                                         consideration             all


                      MR FINCH Object to form                                                                   that    affect       the severity             of

                      MS HARDING Object to                                                       .1.0
                                                                                                                damages          and      values        within        the   tort

11            form                                                                               11             system           which       would include                  the

12                    THE WITNESS                           The        individual                               tort    system as existed                    today
13            review process                has            number of                                            including             but not limited                 to
 L4           factors        that are       taken          into                                   .4            credible        evidence          of..            Romanette

 L5           account         that    are spelled               out in                            .5                   through        vi some of which
16            the     TDP      and       some of those                                            .6            involve        as in Romanette                     vi and
 L7                                                                                               -7            Romanette

                                                                                                        BY
              factors        as best              can recall           --                                                                   history
 .8           and again              this    is
                                                     something              you                  18                                         CON
 .9           probably         want         to    explore with
              Mr Inselbuch
                      But in general some                          of

               those    factors          are related              to

               history and                lot     of the factors                                 123

               are related          to   who the claimant                     is                 124
             Case 01-01139-AMC                     Doc 22814-25                Filed 08/14/09                        Page 8 of 12



                                                                                                   102         Pages                402        to         405
                                                      Page    402                                                                                  Page    404




                                                                                           DlEL COHN
          form
              ..HAL._j              tto                                                    RIhC So the
                                                                                           the alternative
                                                                                                                       ul
                                                                                                                       dispute
                                                                            point
             MR FINCH Objection to                                          reolulon process does milsucceed                                       Is

          form                                                              to go tiThe tort syIem and have.J

                                                                            or judge        if   thai    ig      getse1eeted

                                                                            actually       4emontrae                  tejIufjlie
                  bU1rJY              c_ttcxtQ
LO                                                                   LO

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.7        ahevIe                      zotgo

-9        ietpi
           14
                                 or niibitid

                                                                     19     there   arc     vamsbmy
                                                                            wujd jp gotngntojheort
                                                                                                                 few cases

                                                                                                                             ysjni
                                                                                                                                      that    exei



                                                                                            \Vell       lets    talk    for

                                                                     22     minute         about    experience              in      other cases

                                                                                           In other cases
                                                                                                     you can           if


                             YOU st.nou                              24     generalize approximately   what percentage

                                                       Page    403                                                                                 Fage     405


                      djtcjient             off   iT                        of claims        are settled          upon expedited
          McftQ        ogejxid   qrnost jJ                                  review

          hj4s viiii                                                                       MR FiNCH Objection                               lack

                                                                                    of foundation

                                                                                           MS HARDING
                                       us
                                                                                                                             Objection         to


          hkW6          acctbfc                                                     form
                                                                                           THE WiTNESS                         have     no

                                                                                    knowledge           of that        You can ask

          Iiikw           iitns   b1g1QrI                                           Mr inselbuch               that     My bet is

          ijºe
 .0                                                                                 that    he doesnt          have     any knowledge
 .1              thanf                                                              of that       either       but    he might

 .2       aandii th                         tleica4                   12     BY MR DANIEL COHN
 L3                                                                   .13          You Ld say moment ago
 L4                                                                   14     though         that vanlshlngly                 few      caims IÆ
                                       -r




          4jrtjie
 L5       egonOfIfldy1d1JaflctnCW                                     15     other cases           end up        In   the tort        system
 L6

 L7

 18
          gan aetj
          ic1am wxthapp
                                                                      16


                                                                       L8
                                                                             trusts
                                                                                             ThatmuchIhavebeeutold
                                                                                 people that work
                                                                                       but thats
                                                                                                                 with

                                                                                                           nanative
                                                                                                                            tli.c   other




                                                                       L9
     .9                eon$hnIupcy                                           desrjptjo


           w1hmg
          ilLnt              ..

          r- --  ---
                                  4cii                                                       couldnt       ctuaily..cll.you

                                                                       II    whcthe         its ont      case         year or five

           thoiicaI    sqIertents     or the                                 casQr none                 Itsjust        not    tymany
           jgnents expcjc4                                                                 But when            you start moving
           .Ibtrfor              w1Os                                        backwa              from    tha how            my cas                  go
                      Case 01-01139-AMC                                        Doc 22814-25           Filed 08/14/09               Page 9 of 12



                                                                                                                    103         Pages                 406        to      409
                                                                               Page     406                                                                      Page     408


       arbitration          how many            cases       go     to

       individual          review        what        percentage          goes
       to   expedited review                  each     Trust       does have

       records        from which              they    can    derive       that

       information                And    it
                                              may be        that

       Mr Inselbuch might have                         knowledge               of

       some of that                  dont
                      MR FINCH Grace ACC
              certainly           doesut
.0     BY MR           DANIEL             COHN                                                 .0


                       You have               earlier       testifle4

       that the starling                point for the              TDP wa                      L2

       thTDP               in   some recent case                   is   that                   L3

1.4    correct                                                                                 L4             MR DANIEL COHN Why dont
1.5                    11iats.iny             .Ilet                                            L5      we take          five-minute       break            and

                       4nd          relsIoiwerethen                       made                 16      perhaps      you will remember                  in that

       totbiiffeifsifU                                                                         1.7     period

                Ce case           Isthtcorr.ect                                                               THE WITNESS                 Well             would

 .9                                  ions      yertim            w                                     just   assume      not take            five-minute

       niade         There        had    been        multipI drafts oC                                 break     because         would like to get

       the    TDP over the last                        dont know                                       as    much   of this done          as        can and
                                                                                                                                cant remember
                                    And       som of the eariter                                            every time
                                                                                                       if
        eight    months

        drafts       got    filed    as in the        Septemer                                         something         we take          five-minute

       ilipg.4                                                                                         break     we will be here              for      very

                                                                                 Page    407                                                                      Page     409


                       There was an                  interruption                                      long time

                at   this       time                                                                          MR DANIEL COHN No no
       Y.ANiEI-CO$                                                                                     was not meaning             to set

                            All     right   Vereanyf                                                   precedent          But if you would like

        those revisions                 made iiIth the pecifk
        intention           of addressing              issues       that bid                                  THE WITNESS                     If it   comes to

        bei raised byJheIibby 1annts9                                                                   me       will volunteer          it


                Yes

 11L
  .0                                                                                            10
                                                                                                11
                                                                                                12
 13                                                                                             1.3

  .4                                                                                            1.4


                                                                                                15
                                                                                                 .6

  .7                                                                                                           MS HARDiNG                     Object to form
  .6                                                                                             .8     to the extent       that   its    designed
  19                                                                                             -9     to    address    just   Libby      claims

        asc                                                                                                    MR FiNCH                  join      in that

                                                                                                               THE WITNESS                    It   was     --


  22                                                                                                           MS HARDING                          think    thats

            ThatsonethatIknor                                                                           what             said right
                                                                                                                 you
                           In addition         to    diM under ______                                          MR DANIEL COHN Well                                  --
                 Case 01-01139-AMC                                    Doc 22814-25                  Filed 08/14/09                           Page 10 of 12



                                                                                                                           104           Pages                410          to      413
                                                                         Page      410                                                                                      Page       412


                                                                                                   legitimate             diagnosis           of severe

                                                                                                  disabling pleural disease should                                   qualify
                                                                                                  for      claim at Level                  IV-B under the TDP
                                                                                                               MR FINCH Excuse                me -- let
                                                                                                        me finish                Do you mean by severe
                                                                                                        disabling           pleural         disease      as

                                                                                                        defuied           in the       TDP or by severe
                                                                                                        disabling           pleural         disease do you

                                                                                                        mean something                     else

-o                                                                                        10                   MR DANIEL COHN                                       mean
.1                                                                                        -I-i          what would be                    generally        accepted
                                                                                          12            among         medical professionals                          as

.3                                                                                         .3           legitimate              diagnosis         of severe

-4                                                                                         .4           disabling               pleural     disease       without

L5                                                                                         -5           regard        to the           specific    criteria


L6                                                                                         .6           that       are in the           TDP
17                                                                                        117                   MIt FINCH                     Objection             to

.8                                                                                         LB            form
.9                                                                                         L9                   THE WITNESS                         It   is    the

                                                                                                                           of the committee                   that
                                                                                                         position

                                                                                           ai            anybody who meets                        the    criteria          set

                                                                                                         forth       under        the      heading       severe

                                                                                                         disabling              pleural     disease       should

                                                                                                         have             liquidated         value for their


                                                                            Page    411                                                                                      Page       413


           uI asbstbsis pleur                      disease--j                                            claim of $50000

           and sbuld                bentitled           to   mor                                   BY MR DANiEL                          COHN
                                                                                                                     Let        me ask you
       BY MR DANiEL COHN                                                                                            The         ACC has no position
                      Is    it    the intention          of the                                    other      than the one              expressed in these

       Asbestos        P1 Committee that anyone                             who has                criteria     on    this       subject

                             diagnosis           of severe pleural                                                   Is    it    the position of the
         legitimate

       disease       should qualify               for    Level      LV-B                           Asbestos                 Committee              that        if   two people
                     MR FINCH Object  form                    to                                   are equally sick as would be determined
 1O                  MS HARDING Objection                              to                   10     in   accordance                with      generally accepted
 Li         form                                                                            1.1    medical          criteria            and one of them
 12                  MR FINCH                    You can answer                                    qualifies         under the medical                        criteria       set

 13         to      the position          of the       ACC          am                             forth      in    the     TDP          that both            should        have
 14         not sure             that   the    ACC has an                                    L4    claims       under the TDP of                          Level           IV-B
 15         intent          Do you mean by                   severe                          L5                    MR FINCH Object to form
 16         pleural disease                   severe    disabling                            L6                    MS HARDING Object to
 17         pleural disease                   as defined       in                            L7            form
 18         Level          IV-B                                                             18                     THE WITNESS                           am not even
 1.9                 MR DANEL COHN                                  will                     19            sure           understand that question

 70                  you what
             tell                        --   thank     you    --                                             mean you are saying                         is   it    the

 71          will ask            the question          again                                               position             that    somebody who doesnt
 22    BY MR DM4IEL                           COHN                                                         meet       the       criteria     for Level          P1-B
 23                    Is    the position             of the                                               that      some doctor views                   as equally

       Asbestos        P1 Committee that                       anyone       who has                        sick      as    somebody who does meet                                the
                 Case 01-01139-AMC                                               Doc 22814-25                 Filed 08/14/09                        Page 11 of 12



                                                                                                                                    105           Pages             414             to     417
                                                                                      Page      414                                                                                 Page    416


             criteria        shld         be treated              as                                              think      hes got diffuse              pleural

                                                                                                                                       and hes entitled to
                                              person had               met
                                   first
             thoghth                                                                                              thickening

             the criteria               Because          if   thats                                               $50000            that    doesnt entitled

             thequØstion                the    answer          is      no                                         him in the committees view                               to

      BY MR DANIEL                        COHN                                                                    get treated          under        expedited review
                      If     you change some                        doctor                                        for Level           IV He may be able                        to

                 accordance              with generally accepted                                                  establish         to the    Trusts
      to   in

      medical         standards               then thats                exactly                                   satisfaction          or individual              review

      what          am asking                 Whether              two people                                     that despite             the fact      that      he

      with      the same                                 under generally                                .0        doesnt meet               these    criteria           that
                                   diagnosis
Li    accepted          medicaistandards                           should             receive           .1        somehow             or    another he has                 claim

12    the same treatment                       under the TDP                                            .2        thats       worth that or indeed more

.3                    MR FINCH Objection to                                                             .3        than that

.4           form                                                                                                           But the purpose              of the

.5                    MS HARDiNG                            Objection                                  115        expedited           criteria      is   to   make        it



.6            form                                                                                     16         easy       for Trust        claims handling

.7                    THE WITNESS                       For openers                                    17         people to determine whether
              the     Level              criteria      have                                            18         somebody             is entitled        on an
              nomnØdical                criteria         They have                                     19         expedited review to just take                            the


              exposure            criteria        Secondly                                             20         offer          Its standing            there and

              medical standards                   dont                                                                                     the criteria
                                                               exist        in                                    if
                                                                                                                       you meet                                 you get
                vacuum            They        are standards                 that                                  it        Thats     the                     as
                                                                                                                                             purpose
                doctors      believe          exist      and       apply                                          understand it of this approach                               in

                andtheyhaveanygiven--                                  any                                        the       TDP

                                                                                       Page      415                                                                                 Page    417


                given doctor can have                        their      own                                   BY MR DANIEL                    COHN
                views      on what            medical standards                        do                                    Let      me shift your attention
                or dont       require                                                                         away     from Level IV-B and just use another
                      And      the reason for having                                                          level    as   an   example             So lets take Level
                the   criteria       for the        expedited                                                 VIII mesothelloma
                review       part       of this     as      opposed              to                                           Yes
                for example individual                         review or                                                      Is It   the ppsltlon            of the

                what               could get                                                                                  P1 Conirnlttee that
                        you                            if
                                                            you went              to                          AIbeijos                                              the criteria

                the   tort    system           is to     limit the                                     19     for exjdlted re                 ehould be such that
l0              amount of argumentation                                you are
                                                                                                       fto
                                                                                                              inoitif iot all               igltiinate          mecotheUoma
                                                                                                        .1                                               under the expedited
                                                                                                                            na
 .1             going to get             in   individual               review                                 cb1ij         siouId     qualify

 .2             on whether              somebody does or                                                .2    revi                         for    payment           of the

 .3             doesnt qualify              So you create                                                     sØhediiled Qa1IiSC1                         tlilnSictii
 .4             these      criteria       which         if


 .5             doctor       --    if   two    doctors            have      two                        jis                   MR FINCH Objection to
 .6             patients          and    each     one        of them                                    a6            form
17              concludes           that      each patient                                                                   IBE.WITt1 ESS
18              satisfies         the    criteria      for     Level                                    18            inonngjhc             Grace.exposure
 L9             IV     its    the position             of the                                           19            quircment              it   seems       to   me in
                committee               that they        should both be                                               yoq qtip                      meanl1              the

                treated       as qualifying                 for    Level                                              nteiia          qtiire        the diagnosis              of




                                                                                                                  .0
                 Iv                                                                                                    thiffoi
                       If one       doctor        says        he                                        j23   BY MRLDAMEccOHN
                 doesnt meet              the criteria              but                                                                              so jet me add
              Case 01-01139-AMC                                    Doc 22814-25               Filed 08/14/09                        Page 12 of 12



                                                                                                              .106                 Pages 418                      to      421
                                                                     Page       418                                                                                Page    420




       mt and      let   me also       in    response        to
       MFincbs objection sa that what
       mean by legitimate              Is   shorthand for
       claim that        ould be accepted               in
       icdance           with medical               standards        as

       giidn niesothelloma                    clalin                                   .7

                MS HARDING                          Object    to


           form
                MR FINCH Obect to form                                                 LO

Li                                                                                     11

1.2                                                                                    12
 .3                                                                                    .3

 .4                                                                                    .4    BY MR DANIEL                     COHN
 -5                                                                                    .5                    Actually          its      quite

 L6                                                                                    .6
                                                                                             meaningful
 L7                                                                                    -7                    Well        dont         understand it

 L8                                                                                    .8    then

 L9                                                                                    L9                    You just answered                       It    just

                                                                                             fine
                                                                                       21                    Okay       Glad            got     something

                                                                                             Tight

                                                                                                             So now          let   me shift
                                                                                             attention        now back             to   Level P1-B and


                                                                         Page    419                                                                               Page        421


                                                                                             severe disabling pleural disease

                                                                                                            Again       if    you need          to        defer

                                                                                             to   Mr Inselbuch                or Mr Peterson thats
                                                                                             fine     But can          you     tell     me where             the

                                                                                             scheduled         value average                  value and
                                                                                             maximum           value came from
                                                                                                               think
                                                                                                                         you would have                     to

                                                                                             talk to    Mr Peterson and Mr Inselbuch
                                                                                             about     that       mean              just dont             have

  .0                                                                                   10    enough         specific    knowledge
  .1                                                                                   11                    Then..Iet

  .2               MS HARDiNG                        Object    to                      12    attention to the next provision that you
  -3        form                                                                             mentioned              few minutes                 ago the
                    MR FINCH Object to form                                                  extraordIzary             claims           multiplier            und
  L5               THE WITNESS                       Could    you        read                $ec
  L6        that    question       back                                                 .6           AJ       Ycs
  L7                The reporter             read    from the                           .7
                                                                                                         cWoukl.Uhe a r.to sly that
  18         record       as   requested                                                     to    meej the criteria for the eight times
  .9                MR FINCH Object to form                                            19    rnt.IpiiiceUt
                   fIE WITNESS                       Frankly                           20                   Would        it   lie   lair to      say yoi

            cant.jæiagine          how you                                                    need     to   meet two           criteria         In    order to

            quaif                                                                            qualify for the eight                    times multiplier

             question          seems    to    contemplate           in                        One Is the claimants                      exposure             to

            Iset                                                                              asbestos must be 95 percent                                 the result      of
